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11

12                              UNITED STATES DISTRICT COURT

13               NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

14

15 THE ESTATE OF B.H., JOHN HERNDON,              Case No. 4:21-cv-06561-YGR
   J.H., a minor, T.H., a minor, on behalf of
16 themselves and all other similarly situated,   DEFENDANT’S NOTICE OF MOTIONS
                                                  AND [1] SPECIAL MOTION TO STRIKE
17                Plaintiffs,                     PURSUANT TO CALIFORNIA ANTI-
                                                  SLAPP STATUTE, CAL. CODE OF CIV.
18         vs.                                    PROC. § 425.16, OR, IN THE
                                                  ALTERNATIVE, [2] MOTION TO
19 NETFLIX, INC.,                                 DISMISS PURSUANT TO FED. R. CIV. P.
                                                  12(b)(6); MEMORANDUM OF POINTS
20                Defendant.                      AND AUTHORITIES
21                                                [Filed concurrently with [Proposed] Order]

22                                                Date: October 12, 2021
                                                  Time: 2:00 p.m.
23                                                Ctrm: 1
                                                  Judge: Yvonne Gonzalez Rogers
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 1                              NOTICE OF MOTIONS AND MOTIONS
 2          PLEASE TAKE NOTICE that on October 12, 2021, at 2:00 p.m., or as soon thereafter as

 3 this matter may be heard, in Courtroom 1, United States Courthouse, 1301 Clay Street, Fourth

 4 Floor, Oakland, CA 94612, before the Honorable Yvonne Gonzalez Rogers, Defendant Netflix,

 5 Inc. (“Netflix”) will, and hereby does, move the Court (1) to strike the Complaint in its entirety

 6 pursuant to California’s anti-SLAPP statute, Cal. Code Civ. Proc. § 425.16 et seq., or (2) to

 7 dismiss the Complaint, with prejudice, pursuant to Federal Rule of Civil Procedure 12(b)(6).

 8          The grounds for the Motions are that (1) the Complaint targets activity protected under the

 9 anti-SLAPP statute, and Plaintiffs cannot meet their burden of establishing a probability of success

10 as to any of their claims; and (2) Plaintiffs in all events have failed to plausibly allege any claim

11 for relief.

12          These Motions are based upon this Notice of Motions and Motions, the attached

13 Memorandum of Points and Authorities, any papers filed in reply, all other papers and records on

14 file in this matter, and any other materials or argument the Court may receive at or before the

15 hearing on these Motions.

16                                       ISSUES TO BE DECIDED
17          1.      Whether Plaintiffs’ Complaint should be stricken under California’s anti-SLAPP

18                  statute, Cal. Civ. Proc. Code § 425.16 et seq.
19          2.      Whether all of Plaintiffs’ claims should be dismissed under Fed. R. Civ. P. 12(b)(6)

20                  for failure to state a claim upon which relief may be granted.

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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2                                           INTRODUCTION
 3          Plaintiffs lost their family member, B.H., to suicide. More than four years later, Plaintiffs
 4 filed this action seeking to hold Netflix responsible for her death because it disseminated an

 5 acclaimed, award-winning fictional television series, 13 Reasons Why. Based on the New York

 6 Times bestselling young adult novel, 13 Reasons Why grappled with the issue of teen suicide and

 7 depicted a lead character taking her own life. Plaintiffs have suffered an unimaginable loss. But

 8 this lawsuit is fundamentally misguided. The First Amendment and numerous state law grounds

 9 bar these claims.

10          13 Reasons Why is not the first work to tell a story about teen suicide. The subject has
11 been explored in countless literary works, motion pictures, and TV shows—everything from

12 Romeo and Juliet to Dead Poets Society. And this is not the first lawsuit that has claimed that the

13 parties who brought stories to the public are to blame, and should be held legally liable, for

14 suicides and other tragic events. Courts, however, have repeatedly rejected such suits. See, e.g.,

15 McCollum v. CBS, Inc., 202 Cal. App. 3d 989, 994, 1002 (1988) (dismissing claims that Ozzy

16 Osbourne’s music caused teenager to kill himself: “courts have been universally reluctant to

17 impose tort liability upon any public media for self-destructive or tortious acts alleged to have

18 resulted from a publication or broadcast”) (collecting cases)); Bill v. Superior Court, 137 Cal.
19 App. 3d 1002, 1005 (1982) (rejecting claims that the motion picture Boulevard Nights attracted

20 members of the public who were “prone to violence” and was responsible for shooting of someone

21 outside the theater); Olivia N. v. Nat’l Broad. Co., 126 Cal. App. 3d 488, 492 (1981) (dismissing

22 action claiming that “artificial rape” scene in the movie Born Innocent caused assailants to attack

23 plaintiff in similar manner); James v. Meow Media, Inc., 300 F.3d 683, 687 (6th Cir. 2002)

24 (dismissing claim that violence in video games, movies, and internet sites “desensitized” high

25 school student to violence and was the cause of him shooting and killing other students). These

26 cases, and legions of others applying settled First Amendment and tort law principles, compel the

27 dismissal of Plaintiffs’ claims here.

28          California’s anti-SLAPP statute provides a means for early dismissal of suits such as this

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 1 that target conduct “in furtherance of [a] person’s right of petition or free speech under the United

 2 States or California Constitution in connection with a public issue.” Cal. Code Civ. Proc.

 3 § 425.16. Plaintiffs’ Complaint targets exactly that. 13 Reasons Why is protected expression

 4 under the First Amendment. The Complaint cites numerous articles about 13 Reasons Why and its

 5 subject matter, demonstrating that the speech is in “connection with a public issue.” Id. Plaintiffs

 6 insist that their claims are not based on the content of 13 Reasons Why, but on an alleged “failure

 7 to warn” or breach of a purported duty to protect “vulnerable populations” from the content. See,

 8 e.g., Compl. ¶ 3. But without the Complaint’s allegations that the show’s content is “dangerous,”

 9 Plaintiffs’ theories fall apart. Not only do those theories strike at the free expression embodied in

10 the show, they target Netflix’s conduct “in furtherance” of the distribution of the show, and

11 therefore bring this lawsuit squarely within the ambit of the anti-SLAPP statute.

12          Again, this is not a new means of trying to avoid the First Amendment. Other plaintiffs

13 have similarly said their suits were about a “failure to warn” or “failure to protect” and not an

14 attack on content. The legal result has been no different. Courts have held that plaintiffs cannot

15 circumvent the First Amendment by “substitut[ing] labels for reality.” Bill, 137 Cal. App. 3d at

16 1009 (rejecting “failure to warn” and fraud claims premised on alleged duty to warn of movie’s

17 violent content); McCollum, 202 Cal. App. 3d at 995–96, 1006 (First Amendment barred

18 “negligence,” “product liability,” and “intentional misconduct” claims based on alleged
19 “intentional dissemination of Osbourne’s record music with the alleged knowledge that it would

20 result in self-destructive reactions among certain individuals”). As in these well-settled

21 precedents, Plaintiffs’ “failure to warn” and “failure to protect” claims are inextricably bound to

22 Plaintiffs’ claim that 13 Reasons Why is “dangerous content,” or “content [that] could kill.”

23 Compl. ¶¶ 40, 65. Regardless of the labels Plaintiffs use, their claims are based on the content

24 Netflix disseminated.

25          If allowed to proceed, Plaintiffs’ suit would have profound chilling effects on free

26 expression. See, e.g., Monteiro v. Tempe Union High Sch. Dist., 158 F.3d 1022, 1029 (9th Cir.

27 1998) (“[C]omplaints based on speech protected by the First Amendment have far-ranging and

28 deleterious effects, and the mere threat of civil liability can cause potential defendants to ‘steer far


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 1 wider of the unlawful zone.’”). Creators obligated to shield certain viewers from expressive works

 2 that depict suicide would inevitably censor themselves to avoid the threat of liability. This would

 3 “dampen[] the vigor and limit the variety of public debate.” New York Times Co. v. Sullivan, 376

 4 U.S. 254, 279 (1964). In such a landscape, a long line of creative works—classic staples like

 5 Anna Karenina, Antigone, The Awakening, Madame Bovary, and The Bell Jar, as well as countless

 6 modern works like Dear Evan Hansen, The Perks of Being a Wallflower, Wristcutters: A Love

 7 Story, and The Virgin Suicides—would be at risk. The First Amendment does not permit such a

 8 result.

 9           Under the anti-SLAPP statute, Plaintiffs must show a probability of prevailing or the

10 Complaint must be stricken. They cannot do so, for a number of independent reasons. The First

11 Amendment bars their claims, certainly. But there are several other grounds for dismissal. A two-

12 year statute of limitations bars the claims. Decedent’s siblings lack standing to sue for wrongful

13 death. And, as a number of cases have previously held, Plaintiffs cannot plausibly allege core

14 elements of their tort claims—duty, causation, or a basis for strict liability. Even setting aside the

15 anti-SLAPP statute, any of these grounds would mandate dismissal under Rule 12(b)(6).

16 Whatever path the Court chooses to take, the result is clear: the Complaint must be dismissed

17 with prejudice.

18                                   PLAINTIFFS’ ALLEGATIONS
19           Netflix offers a video streaming service to its members, who subscribe to the Netflix

20 service for a monthly fee. Compl. ¶ 10. 1 In March 2017, Netflix released to its subscribers the

21

22   1
       For purposes of its anti-SLAPP and 12(b)(6) Motions, Netflix’s arguments do not challenge
     Plaintiffs’ factual allegations. But to be clear, the inflammatory allegation that 13 Reasons Why
23
     caused widespread harm to children is false. Research refutes that there was any statistically
24   significant increase in teen suicide after the release of 13 Reasons Why. See, e.g., Bethany Ao,
     Netflix series “13 Reasons Why” did not increase number of teen suicides, study finds, Phila.
25   Inquirer (Jan. 16, 2020), https://www.inquirer.com/health/13-reasons-why-suicide-teens-penn-
     20200115.html. Similarly, although not germane to the resolution of the Motions, Plaintiffs point
26   to Netflix’s website to describe Netflix’s recommendations. That website directly refutes
     Plaintiffs’ claim that the recommendation algorithm uses subjective or demographic information
27
     to target young, vulnerable people. See Compl. ¶ 56 (citing How Netflix’s Recommendations
28   System Works, https://help.netflix.com/en/node/100639 (last visited Aug. 31, 2021)). It does not.


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 1 first season of 13 Reasons Why, adapted from a bestselling young-adult novel by Jay Asher. See

 2 id. ¶¶ 12–13. The fictional series tackles real-world social issues affecting young people,

 3 including sexual assault, substance abuse, and suicide. See id. ¶¶ 12–14, 32. The episodes in the

 4 first season follow 13 cassette tapes that high school student Hannah Baker left behind after

 5 committing suicide. See id. The tapes detail the 13 reasons why she took her own life. See id.

 6 The Complaint alleges that in telling Hannah’s story, the show’s creators took a “naturalistic”

 7 approach in an effort to de-romanticize and deter teenage suicide. See id. ¶¶ 14, 26. Plaintiffs

 8 acknowledge that prior to the show’s release, Netflix sought the advice of mental health experts,

 9 see id. ¶¶ 25–28, and that, from the outset, Netflix has included various advisory warnings with

10 the show, see id. ¶¶ 30–34.

11          Plaintiffs allege that B.H. watched 13 Reasons Why and later “experienced emotional and

12 psychological distress and harm.” Id. ¶ 62. On April 28, 2017, she passed away from suicide. Id.

13 ¶ 66. More than four years later, decedent’s estate, her father (John Herndon), and her two

14 brothers (J.H. and T.H.), brought this putative class action against Netflix. Decedent’s estate and

15 her father assert two survival claims for strict liability and negligence (id. ¶¶ 73, 82), while her

16 brothers assert a claim for wrongful death (id. ¶ 78).

17          The gravamen of Plaintiffs’ Complaint is that 13 Reasons Why “glorified suicide” and

18 caused decedent to take her own life. See Compl. ¶¶ 17, 63–66. Plaintiffs take issue not only with
19 the general subject of suicide addressed in the show, which they claim can cause suicidal ideation

20 and suicide (see, e.g., id. ¶¶ 26, 29, 37), but also with specific choices the creators made about

21 how to depict the main character’s suicide and the overall dramatic style and pace of the show.

22 See, e.g., id. ¶¶ 16–17 (alleging that the show’s creators “decided to depict Hannah’s suicide in

23 ‘unflinching detail’” in a “graphic, three-minute-long scene”), id. ¶¶ 14–15, 38 (contrasting the

24 pace and style of the show with the “quick-paced” “economical” “styl[e]” of the book, and

25 alleging the show “becomes dramatically more graphic over the course of its first season” without

26 warning “where the most dangerous content appears”). Based on their contention that the show

27

28 Rigorous parental controls are available to Netflix’s account holders, who may decide for
   themselves what content is appropriate for their families.

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 1 contains “dangerous content” and “content that could kill” (id. ¶¶ 38, 65, 40), Plaintiffs allege

 2 (1) Netflix’s content-advisory warnings were inadequate, and (2) Netflix should have taken steps

 3 to ensure the show was not recommended to “vulnerable populations.” Compl. ¶ 3; see also, e.g.,

 4 id. ¶ 24; id. ¶ 74 (strict liability); ¶ 79 (wrongful death); ¶ 81 (negligence).

 5          Plaintiffs’ claims depend on the content of 13 Reasons Why. See id. ¶¶ 20, 22–23. Again

 6 and again, the Complaint links its failure-to-warn and failure-to-protect theories of liability to the

 7 actual content of the show: its “depiction of suicide” (see, e.g., id. ¶ 26, 29–30, 63), its “dramatic

 8 and explicit portrayal” (id. ¶ 45), the “themes” that allegedly “inhibit[ed] impressionable and

 9 vulnerable viewers from seeking professional help” (id. ¶ 37), “content suggest[ing] that seeking

10 help for suicide is fruitless” (id.), and other allegedly “dangerous content” (id. ¶¶ 38–39, 64–65).

11 The Complaint alleges that the show’s “disturbing content” triggered a duty for Netflix to warn

12 about a risk of suicide and to “frame its advisories in a way” to help viewers distinguish between

13 “intense emotional reaction[s]” and “dangerous signs of suicidal ideation.” Id. ¶ 39. Similarly,

14 the Complaint alleges that Netflix should have ensured that its recommendation system did not

15 offer 13 Reasons Why to “the most vulnerable members in society” because of the show’s

16 “traumatic content.” Id., Section F at p. 14.

17                                               ARGUMENT
18          Plaintiffs’ misguided suit should be dismissed. The Complaint is subject to California’s
19 anti-SLAPP statute because it targets conduct in furtherance of Netflix’s right to free speech, and

20 Plaintiffs cannot demonstrate a probability of prevailing on any of their claims for numerous

21 independent reasons: (1) the claims are procedurally barred, (2) Plaintiffs do not and cannot

22 plausibly plead the essential elements of their claims under state law, and (3) the First Amendment

23 precludes Plaintiffs from imposing tort liability on Netflix for disseminating an expressive work

24 Plaintiffs deem “dangerous.” Even if the anti-SLAPP statute did not apply, the Complaint should

25 be dismissed with prejudice under Rule 12(b)(6) based on these same fatal procedural and

26 substantive flaws.

27 I.       The Complaint Should Be Stricken Under California’s Anti-SLAPP Statute
28          California’s anti-SLAPP statute provides for the “early dismissal of meritless first


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 1 amendment cases aimed at chilling expression through costly, time-consuming litigation.”

 2 Metabolife Int’l, Inc. v. Wornick, 264 F.3d 832, 839 (9th Cir. 2001). Because the anti-SLAPP

 3 statute serves vital, substantive state interests, its protections apply to state law claims in federal

 4 court. U.S. ex rel. Newsham v. Lockheed Missiles & Space Co., 190 F.3d 963, 973 (9th Cir. 1999).

 5 Consistent with the statute’s explicit direction (Cal. Code Civ. Proc. § 425.16(a)), federal courts

 6 construe the anti-SLAPP statute broadly. Greater L.A. Agency on Deafness, Inc. v. Cable News

 7 Network, Inc. (“GLAAD”), 742 F.3d 414, 421 (9th Cir. 2014).

 8          An anti-SLAPP motion involves a two-step inquiry: (1) the defendant must make a

 9 threshold showing that each challenged claim arises from protected activity; if the defendant

10 makes that showing, then (2) the burden shifts to the plaintiff to demonstrate a probability of

11 prevailing on each of the challenged claims. Id. at 422. Where, as here, an anti-SLAPP motion is

12 based on a complaint’s facial legal deficiencies, the motion is “treated in the same manner as a

13 motion under Rule 12(b)(6).” See Planned Parenthood Fed’n of Am., Inc. v. Ctr. for Med.

14 Progress, 890 F.3d 828, 833–34 (9th Cir. 2018). The motion must be granted “when a plaintiff

15 presents an insufficient legal basis for his or her claims.” Id.

16          A.      Plaintiffs’ Claims Arise from Acts in Furtherance of the Right to Free Speech
                    in Connection with a Public Issue
17

18          At step one, the defendant must make a prima facie showing that the asserted claims arise

19 from protected activity. Here, the protected activity is any “act . . . [1] in furtherance of [a]

20 person’s right of petition or free speech under the United States or California Constitution [2] in

21 connection with a public issue.” Cal. Code Civ. Proc. § 425.16(b)(1). Plaintiffs’ claims satisfy

22 both elements.

23                    1.      Plaintiffs’ Claims Arise from Conduct in Furtherance of Speech

24          Whether the challenged activity is “in furtherance” of speech has been “interpreted…
25 rather loosely,” Hilton v. Hallmark Cards, 599 F.3d 894, 903–04 (9th Cir. 2010), and “[t]he

26 defendant’s burden on this step ‘is not a particularly demanding one,’” Todd v. Lovecruft, 2020

27 WL 60199, at *11 (N.D. Cal. Jan. 6, 2020) (quoting Daniel v. Wayans, 8 Cal. App. 5th 367, 387

28 (2017)). The first prong sweeps broadly to capture more than just speech that is “constitutionally


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 1 protected under the First Amendment as a matter of law.” Fox Searchlight Pictures, Inc. v.

 2 Paladino, 89 Cal. App. 4th 294, 305 (2001). Conduct that advances or assists expressive activity

 3 also “qualifies as a form of protected activity” under the statute. Hunter v. CBS Broadcasting,

 4 Inc., 221 Cal. App. 4th 1510, 1521 (2013).

 5           “[T]he form of the plaintiff’s cause of action” does not control whether this prong is met.

 6 Navellier v. Sletten, 29 Cal. 4th 82, 92 (2002). Rather, the analysis turns on the “activity that gives

 7 rise to [the] asserted liability—and whether that activity constitutes protected speech or

 8 petitioning.” Id. (emphasis in original). Courts therefore look to the “principal thrust or

 9 gravamen” of the claim. Martinez v. Metabolife Int’l, Inc., 113 Cal. App. 4th 181, 188 (2003)

10 (emphasis in original). This standard is generally satisfied where “but for” the defendant’s

11 speech-related activity, the claim would have no basis. See, e.g., Doe v. Gangland Prods., Inc.,

12 730 F.3d 946, 955 (9th Cir. 2013) (citing Navellier, 29 Cal. 4th at 90) (concluding producers of

13 documentary television series had met their burden under first step because “[b]ut for the

14 [television] broadcast and [their] actions in connection with that broadcast, [p]laintiff would have

15 no reason to sue”).

16           Plaintiffs’ theories of liability plainly arise from acts in furtherance of Netflix’s right to

17 free speech.

18           Plaintiffs’ failure-to-warn theory arises from speech because it is directly premised on the
19 content of the show itself. 2 The gravamen of the failure-to-warn claim is that 13 Reasons Why is

20 “dangerous” and that the show’s “dangerous features”— i.e., its content—gave rise to a purported

21 duty to warn. See, e.g., Compl. ¶ 24. Section D of the Complaint, which details Plaintiffs’ failure

22 to warn theory, repeatedly references the show’s “depictions,” “content,” and “themes” in

23 asserting that Netflix should have provided different or additional warnings. Id. ¶¶ 26, 29, 36–40.

24           Plaintiffs cannot avoid the anti-SLAPP statute by labeling Netflix’s expressive conduct a

25
     2
     The show, of course, is expressive speech at the heart of the First Amendment’s protections.
26 See, e.g., Guglielmi v. Spelling-Goldberg Prods., 25 Cal. 3d 860, 865 (1979) (Bird, C.J.,
   concurring) (“[W]hether exhibited in theaters or on television, a film is a medium which is
27 protected by the constitutional guarantees of free expression.”); Joseph Burstyn, Inc. v. Wilson,

28 343 U.S. 495, 501–02 (1952) (“It cannot be doubted that motion pictures are a significant medium
   for the communication of ideas.”).

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 1 “dangerous feature” or a “health risk.” See, e.g., Wang v. Wal-Mart Real Estate Bus. Tr., 153 Cal.

 2 App. 4th 790, 801–02 (2007) (“It is well-established that a plaintiff will not avoid the application

 3 of the anti-SLAPP statute by disguising the pleading as a ‘garden variety’ tort claim if the basis of

 4 the alleged liability is predicated on protected speech or conduct.”). Bill v. Superior Court is

 5 instructive. There, the plaintiff alleged that the defendant had a duty to warn about a movie’s

 6 alleged tendency to attract violence-prone viewers. The court held that such a claim implicated

 7 the First Amendment, and could not be separated from a claim against the content of the film

 8 itself. See 137 Cal. App. 3d at 1007–08. The same is true here. “[I]t is precisely because of the

 9 [show’s] content, and for no other reason,” that Plaintiffs allege Netflix owed a duty to warn. Id.

10           Plaintiffs’ allegation that Netflix’s content required additional warnings thus squarely

11 targets acts in furtherance of speech. See Cal. Code Civ. Proc. § 425.16(e)(3) (defining such acts

12 to include “any written or oral statement or writing made in a place open to the public or a public

13 forum”); Metabolife Int’l, Inc. v. Wornick, 72 F. Supp. 2d 1160, 1165 (S.D. Cal. 1999), aff’d in

14 part, rev’d in part on other grounds, 264 F.3d 832 (“[A] widely disseminated television broadcast

15 . . . is undoubtedly a public forum.”). 3

16           Plaintiffs’ failure-to-protect theory is premised on Netflix’s recommendations system,
17 which displays an array of suggested titles to members. Compl. ¶ 56. The recommendations

18 system, and the display of suggested titles, is speech. It evinces “[a]n intent to convey a
19 particularized message,” Spence v. Washington, 418 U.S. 405, 410–11 (1974)—namely, a

20 message about what shows and movies a viewer might choose from to watch. See, e.g., Hurley v.

21 Irish-Am. Gay, Lesbian and Bisexual Grp. of Boston, 515 U.S. 557, 570 (1995) (“[T]he

22

23   3
       Moreover, the failure-to-warn claim also implicates Netflix’s free speech right to make its own
24   decisions about what to say—and what not to say—about the show. Such decisions are, of course,
     a well-settled, fundamental part of the constitutional right of free speech. See, e.g., Hurley v.
25   Irish-Am. Gay, Lesbian and Bisexual Grp. of Boston, 515 U.S. 557, 573–74 (1995) (“[O]ne who
     chooses to speak may also decide ‘what not to say’”) (quoting Pac. Gas & Elec. Co. v. Pub. Utils.
26   Comm’n of Cal., 471 U.S. 1, 16 (1986)); Kronemyer v. Internet Movie Data Base, Inc., 150 Cal.
     App. 4th 941, 947 (2007) (defendant’s refusal to list plaintiff’s name in credits was an act in
27   furtherance of the defendant’s free speech right not to speak); see also Rivera v. First DataBank,
28   Inc., 187 Cal. App. 4th 709, 715 (2010) (complaint challenging adequacy of suicide warning in
     Paxil pamphlet arose from publisher’s exercise of free speech).

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 1 presentation of an edited compilation of speech generated by other persons” falls “squarely within

 2 the core of First Amendment security.”); Forsyth v. Motion Picture Assoc. of Am., Inc., 2016 WL

 3 6650059, at *2 (N.D. Cal. Nov. 10, 2016) (holding movie ratings are protected speech because

 4 they “speak generally to the content of movies and their suitability for different audiences”). The

 5 recommendations fall within the well-recognized right to exercise “editorial control and

 6 judgment.” Miami Herald Pub. Co. Tornillo, 418 U.S. 241, 258 (1974). Plaintiffs allege that the

 7 recommendations here are different because they are dictated by an algorithm. See, e.g., Compl.

 8 ¶ 54. But the fact that the recommendations “may be produced algorithmically” makes no

 9 difference to the analysis. See Jian Zhang v. Baidu.com Inc., 10 F. Supp. 3d 433, 438–39

10 (S.D.N.Y. 2014). “After all, the algorithms themselves were written by human beings, and they

11 ‘inherently incorporate . . . engineers’ judgments . . . .’” Id. (internal citation omitted). The

12 recommendations generated are “much like many other familiar editorial judgments,” such as “the

13 guidebook writer’s judgments about which attractions to mention and how to display them, and

14 Matt Drudge’s judgments about which stories to link and how prominently to feature them.” Id.

15          Even if there were some question about the recommendations themselves constituting

16 protected speech (and there is not), the claim would still trigger the first prong of the anti-SLAPP

17 statute. “By its terms, [the anti-SLAPP statute] includes not merely actual exercises of free speech

18 rights but also conduct that furthers such rights.” Doe, 730 F.3d at 953 (citation omitted)
19 (emphasis added). “An act is in furtherance of the right of free speech if the act helps to advance

20 that right or assists in exercise of that right.” Tamkin v. CBS Broad., Inc., 193 Cal. App. 4th 133,

21 143 (2011). The suggestion that a viewer watch a show falls within the broad scope of conduct in

22 furtherance of the right to free speech. The subject of the recommendation—13 Reasons Why—is

23 itself protected speech, and the recommendations facilitate Netflix’s protected distribution and

24 dissemination of that speech. See id. (acts that “help[] to advance or assist in the . . . broadcasting

25 of an episode of a popular television show” constitute activity in furtherance of speech); GLAAD,

26 742 F.3d at 422–24 (editorial decision to forgo captioning for online videos was an act “in

27 furtherance of” CNN’s reporting and delivering of the news); Forsyth, 2016 WL 6650059, at *2

28 (“Movie ratings are . . . ‘in furtherance of free speech,’ because movies themselves are a form of


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 1 free speech, and the ratings help advance that free speech by giving potential audiences an

 2 indication of a movie’s content or suitability.”).

 3          Finally, like Plaintiffs’ failure-to-warn theory, Plaintiffs’ recommendation theory cannot be

 4 separated from Plaintiffs’ allegation that the underlying content is “dangerous”: the entire premise

 5 of the claim is that Netflix had a duty to identify which viewers are “vulnerable,” and ensure that

 6 the algorithm does not recommend 13 Reasons Why (or other content Plaintiffs deem unsuitable)

 7 to such viewers.

 8                    2.     The Challenged Conduct is in Connection with an Issue of Public Interest

 9          Plaintiffs’ claims also target Netflix’s free-speech activities “in connection with a public
10 issue or an issue of public interest.” Cal. Code Civ. Proc. § 425.16(e)(4). The public-interest

11 requirement is broadly construed. See id. § 425.16(a). Any issue “in which the public takes an

12 interest” will suffice, Nygard, Inc. v. Uusi-Kerttula, 159 Cal. App. 4th 1027, 1042–43 (2008), so

13 long as there is “some degree of closeness” between that public issue and the challenged conduct,

14 FilmOn Inc. v. DoubleVerify Inc., 7 Cal.5th 133, 150 (2019). This standard clearly encompasses

15 the facts of this case.

16          The Complaint makes clear on its face that 13 Reasons Why has been the subject of
17 substantial public discourse. See, e.g., Compl. ¶ 13 (describing the source material’s “huge

18 following” and citing coverage of the show in The New York Times); id. ¶ 21 (describing the show
19 as “a cultural event”). The large number of interested viewers and the public discourse

20 surrounding the show are sufficient to satisfy the public interest requirement. See ITN Flix, LLC v.

21 Hinojosa, 2019 WL 3562669, at *4 (C.D. Cal. Aug. 6, 2019) (public interest requirement was

22 satisfied where film was broadly released on over 2500 screens and thus “directly affected a large

23 number of people”); Tamkin, 193 Cal. App. 4th at 144 (public was demonstrably interested in the

24 broadcast of an episode of CSI: Crime Scene Investigation given the episode’s ratings and various

25 discussions of the episode online); Church of Scientology v. Wollersheim, 42 Cal. App. 4th 628,

26 651 (1996), disapproved on other grounds by Equilon Enters. v. Consumer Cases, Inc., 29 Cal.4th

27 53 (2002) (speech about Church of Scientology was in connection with issue of public interest

28 given size of Church’s membership and its extensive media coverage).


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 1          The fact that 13 Reasons Why tackles real-world topics of widespread public interest such

 2 as teen suicide, sexual assault, and substance abuse further confirms that it is contributing to the

 3 public conversation on issues of public concern. See Compl. ¶ 32 (alleging the show opens with

 4 an advisory that states: “By shedding a light on these difficult topics, we hope our show can help

 5 viewers start a conversation.”); see, e.g., Ingels v. Westwood One Broad. Servs., Inc., 129 Cal

 6 App. 4th 1050, 1064 (2005) (call-in radio talk show was matter of public interest because it

 7 “address[ed] subjects of interest to the public at large”).

 8          B.      Plaintiffs Cannot Demonstrate a Probability of Prevailing on Any Claims
 9          Because step one is satisfied, Plaintiffs must “demonstrate[] a probability of prevailing on

10 the merits” of their strict liability, negligence, and wrongful death claims. GLAAD, 742 F.3d at

11 422. Plaintiffs cannot meet this standard for multiple reasons. In addition to being barred by the

12 First Amendment, Plaintiffs’ claims fail under state law: (1) two claims (negligence and strict

13 liability) are time-barred, and the plaintiffs on the third claim (wrongful death) have no standing to

14 bring it; (2) all three claims fail under substantive principles of California law. Deferring to the

15 principle of constitutional avoidance, we discuss the state law grounds for dismissal before

16 addressing the First Amendment. See Vernon v. City of L.A., 27 F.3d 1385, 1391–92 (9th Cir.

17 1994) (under the constitutional avoidance doctrine, courts “avoid adjudication of federal

18 constitutional claims when alternative state grounds are available”).
19                   1.      The Complaint Has Fatal Procedural Flaws

20                         (a) The Negligence and Strict Liability Claims Are Time-Barred

21          Plaintiffs’ negligence and strict liability claims are both subject to a two-year statute of

22 limitations. See Cal. Code Civ. Proc. § 335.1. That they are survival claims, brought by

23 decedent’s estate and her father, does not extend the limitations period. See id. § 377.20(a)

24 (“Except as otherwise provided by statute, a cause of action for or against a person is not lost by

25 reason of the person’s death, but survives subject to the applicable limitations period.”).

26          The two-year limitations period began to run once the claim “accrued,” meaning when the

27 claim was “‘complete with all of its elements’—those elements being wrongdoing, harm, and

28 causation.” Pooshs v. Philip Morris USA, Inc., 51 Cal. 4th 788, 797 (2011) (citation omitted); see


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 1 Cal. Code Civ. Proc. § 312. Here, accrual occurred no later than April 28, 2017, when decedent

 2 passed away. See Compl. ¶ 66. The limitations period expired two years later, April 28, 2019.

 3 Plaintiffs did not file this lawsuit until April 30, 2021—two years too late. Plaintiffs’ strict

 4 liability and negligence claims must be dismissed as time-barred. 4

 5                          (b) Decedent’s Brothers Lack Standing To Bring A Wrongful Death Claim

 6           The claim for wrongful death is brought by decedent’s two brothers (Compl. ¶ 78), but

 7 they lack standing.

 8           In California, only those persons specified in the wrongful death statute, Cal. Code Civ.

 9 Proc. § 377.60, have standing. See Scott v. Thompson, 184 Cal. App. 4th 1506, 1510 (2010).

10 “[S]tanding among multiple claimants is determined by statutory rank,” and is limited to “persons

11 who, because of their relation to the deceased, are presumed to be injured by his [or her] death.”

12 Nelson v. Cty. of Los Angeles, 113 Cal. App. 4th 783, 789 & n.6 (2003). Under § 377.60, when an

13 individual dies without any “surviving spouse, domestic partner, children, [or] issue of deceased

14 children,” standing is conferred on “the persons . . . who would be entitled to the property of the

15 decedent by intestate succession.” See Rosales v. Battle, 113 Cal. App. 4th 1178, 1185 (2003)

16 (“‘heirs’ refers to those individuals who may inherit by intestate succession under California

17 law”).

18           Section 6402 of the Probate Code sets forth the chain of intestate succession. Where, as

19 here, a decedent has no children, the parents are first in the line of succession. See Cal. Prob.

20 Code § 6402(b). That means decedent’s father—and not her siblings—has standing to sue for

21 wrongful death. See, e.g., Scott, 184 Cal. App. 4th at 1510 (granting defendants’ summary

22 judgment motion “[b]ecause California’s wrongful death statute vests priority and exclusive

23 standing in a decedent’s surviving parent over a surviving sibling”); Medrano v. Kern Cty.

24 Sheriff’s Officer, 921 F. Supp. 2d 1009, 1018 (E.D. Cal. 2013) (dismissing decedent’s brothers’

25

26   4
     John Herndon’s failure to execute and file an affidavit showing that he is the decedent’s
   successor in interest (or even allege such facts) is another, separate basis for dismissing the
27 survival claims. See Cal. Code Civ. Proc. § 377.32; Stoddard-Nunez v. City of Hayward, 2015

28 WL 6954963, at *5 (N.D. Cal. Nov. 10, 2015) (dismissing survival claims where plaintiff failed to
   allege facts showing he had standing to bring claims as successor in interest).

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 1 wrongful death claim where plaintiffs did not allege that the decedent had no surviving issue or

 2 parents).

 3          Decedent’s father has brought no wrongful death claim. See Compl. ¶ 78. Nor could he.

 4 Wrongful death has the same two-year statute of limitations as the strict liability and negligence

 5 claims, so lapsed two years before Plaintiffs filed suit. See Cal. Code Civ. Proc. § 335.1.

 6 Decedent’s father cannot assign or renounce his statutorily prescribed rights to give decedent’s

 7 brothers (whose claims would otherwise be tolled until they reached the age of 18) the right to sue

 8 for wrongful death instead. See, e.g., Lewis v. Reg’l Ctr. of the East Bay, 174 Cal. App. 3d 350,

 9 354–55 (1985); Mayo v. White, 178 Cal. App. 3d 1083, 1090 (1986). Nor does the failure of

10 decedent’s father to bring a timely claim for wrongful death confer standing on her brothers.

11 “[T]he right to sue for wrongful death damages is strictly a creature of statute,” and the statute

12 limits that right to those with priority in the chain of intestate succession—here, decedent’s father.

13 See Nelson, 113 Cal. App. 4th at 789 & n.6 (collecting cases).

14                    2.      Plaintiffs’ Claims Fail as a Matter of State Law

15          Apart from these fundamental procedural defects, all of Plaintiffs’ claims also fail under

16 well-established principles of state law.

17                          (a) Plaintiffs’ Strict Liability Claim Fails Because 13 Reasons Why Is Not
                                a “Product”
18
19          Plaintiffs allege that 13 Reasons Why is a product, and that therefore the failure-to-warn

20 claim is subject to strict liability. Compl. ¶ 74. As a matter of law, strict liability for failure to

21 warn applies only to tangible “products.” Winter v. G.P. Putnam’s Sons, 938 F.2d 1033, 1034 (9th

22 Cir. 1991); Pierson v. Sharp Mem’l Hosp., 216 Cal. App. 3d 340, 345 (1989) (“A product is a

23 physical article which results from a manufacturing process and is ultimately delivered to a

24 consumer.”). No tangible product is at issue here. And, as the Ninth Circuit has squarely held,

25 products liability law does not embrace “ideas and expression.” Winter, 938 F.2d at 1034 (9th Cir.

26

27

28


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 1 1991) (holding products liability law did not apply to The Encyclopedia of Mushrooms). 5

 2           Because products liability law is “focused on the tangible world,” it is ill equipped to

 3 handle the “delicate issues” that arise in connection with the “unique characteristics of ideas and

 4 expression.” Winter, 938 F.2d at 1034–36 (“We place a high priority on the unfettered exchange

 5 of ideas. We accept the risk that words and ideas have wings we cannot clip and which carry them

 6 we know not where. The threat of liability without fault . . . could seriously inhibit those who

 7 wish to share thoughts and theories.”). As a result, every court to confront this question has

 8 reached the same conclusion as the Ninth Circuit and rejected strict liability claims based on the

 9 expressive content in books, movies, or other media. Id. at 1036 (“We know of no court that has

10 chosen the path to which the plaintiffs point.”) (collecting cases); accord Watters v. TSR, Inc., 904

11 F.2d 378, 381 (6th Cir. 1990) (“As far as we have been able to ascertain, . . . the doctrine of strict

12 liability has never been extended to words or pictures.”); Birmingham v. Fodor’s Travel Publ’ns,

13 Inc., 73 Haw. 359, 373–75 (1992) (plaintiff had no claim for relief based on strict/product liability

14 because Fodor’s travel guide was not a “product”).

15           Numerous courts have specifically rejected the theory advanced by Plaintiffs here—the

16 proposition that media is a “product” subject to strict liability if it is alleged to have caused a

17 personal injury. See, e.g., James, 300 F.3d at 701 (affirming dismissal of product liability claim

18 on the ground that video games, movies, and internet transmissions alleged to have incited
19 violence were not “products”); Sanders v. Acclaim Ent., Inc., 188 F. Supp. 2d 1264, 1278–79 (D.

20 Colo. 2002) (holding victims of school shooting had no strict liability claim against manufacturers

21 and distributors of violent video games and movies because “intangible thoughts, ideas, and

22 expressive content are not ‘products’ as contemplated by strict liability doctrine”); Wilson v.

23 Midway Games, Inc., 198 F. Supp. 2d 167, 173 (D. Conn. 2002) (holding Mortal Kombat was not

24 a ‘product’ that could give rise to a product liability claim, noting that “[c]ourts that have

25 addressed the proposition that ‘inciting’ media speech is a ‘product’ for the purposes of strict

26

27   5
    “[I]t is for the court to determine as a matter of law whether something is, or is not, a product.”
28 Restatement    (Third) of Torts § 19 cmt. a (1998); accord Brooks v. Eugene Burger Mgmt. Corp.,
   215 Cal. App. 3d 1611, 1626 (1989).

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 1 liability have rejected it) (collecting cases); Davidson v. Time Warner, Inc., 1997 WL 405907, at

 2 *14 (S.D. Tex. Mar. 3, 1997) (holding ideas contained in Tupac Shakur song recording were not a

 3 product because “products liability theory does not encompass the content of a publication”).

 4           This uniform precedent compels dismissal of Plaintiffs’ strict liability claim with

 5 prejudice.

 6                          (b) Plaintiffs’ Negligence and Wrongful Death Claims Fail Because Netflix
                                Did Not Owe Plaintiffs a Duty
 7

 8           The “sine qua non of any negligence action is, of course, the existence of a duty of care

 9 owed by the alleged wrongdoer to the person injured.” Gregorian v. Nat’l Convenience Stores,

10 Inc., 174 Cal. App. 3d 944, 948 (1985). Plaintiffs’ negligence claim falls apart at this threshold

11 element—as does their derivative wrongful death claim. 6

12           Whether a plaintiff is owed a duty is a threshold question that can be decided as a matter of

13 law. See, e.g., McCollum, 202 Cal. App. 3d at 1004; Bill, 137 Cal. App. 3d at 1009. The

14 imposition of a duty “is the court’s expression of the sum total of those considerations of policy

15 which lead the law to say that the particular plaintiff is entitled to protection.” Sakiyama v. AMF

16 Bowling Centers, Inc., 110 Cal. App. 4th 398, 405 (2003). Courts use the policy considerations

17 inherent in the duty analysis to serve “as a gatekeeper for the otherwise extremely broad concept

18 of negligence.” James, 300 F.3d at 692. Under California law, duty can be established through
19 either the multi-factor duty analysis set forth in Rowland v. Christian, 69 Cal. 2d 108 (1968), 7 or

20 by establishing the existence of a “special relationship.” Under either test, Netflix owed no duty to

21 the decedent.

22

23   6
       The elements of a wrongful death action are “the tort (negligence or other wrongful act), the
     resulting death, and the damages, consisting of the pecuniary loss suffered by the heirs.”
24
     Lattimore v. Dickey, 239 Cal. App. 4th 959, 968 (2015) (citation omitted). Here, the alleged
25   underlying torts consist of the strict liability failure to warn claim (which fails as a matter of law
     for the reasons set forth above) and the negligence claim (which fails for the reasons set forth
26   below). While the Complaint includes passing allegations that the claim is also premised on
     “intentional acts and omissions” (Compl. ¶ 79), Plaintiffs do not plead the elements of any
27   intentional tort—nor could they.
     7
28    Superseded in part by statute on other grounds as stated in Calvillo-Silva v. Home Grocery, 19
     Cal. 4th 714, 721–23 (1998).

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 1          The factors balanced in the Rowland analysis include “the foreseeability of harm to the

 2 plaintiff, the degree of certainty that the plaintiff suffered injury, the closeness of the connection

 3 between the defendant’s conduct and the injury suffered, the moral blame attached to the

 4 defendant’s conduct, the policy of preventing future harm, [and] the extent of the burden to the

 5 defendant and consequences to the community of imposing a duty.” Rowland, 69 Cal. 2d at 112–

 6 13. Although foreseeability is a “primary consideration” in this analysis, foreseeability is not

 7 “synonymous with duty.” Sakiyama, 110 Cal. App. 4th at 407 (citation omitted). Rather, “policy

 8 considerations may dictate a cause of action should not be sustained no matter how foreseeable the

 9 risk.” Id. (citation omitted). Ultimately, then, foreseeability is “an elastic factor.” McCollum, 202

10 Cal. App. 3d at 1004 (citation omitted). “[I]n cases where the burden of preventing future harm is

11 great, a high degree of foreseeability may be required.” Id. (citation omitted).

12          The multi-factor Rowland analysis, and its underlying foreseeability inquiry, is a pure

13 question of law when “there is no room for a reasonable difference of opinion.” Gregorian, 174

14 Cal. App. 3d at 948. There can be no reasonable difference of opinion here—recognizing a duty

15 on the facts alleged would “stretch the concepts of foreseeability and ordinary care to lengths that

16 would deprive them of all normal meaning.” Watters, 904 F.2d at 381. This is especially so

17 because of the chilling effects that would ensue from recognizing such a duty. See id. (“The only

18 practicable way of [e]nsuring [media] could never reach a ‘mentally fragile’ individual would be
19 to refrain from selling it at all.”). The countervailing First Amendment concerns mean a “high

20 degree of foreseeability” is necessary to impose a duty here. McCollum, 202 Cal. App. 3d at

21 1004; accord Bill, 137 Cal. App. 3d at 1013.

22          Plaintiffs’ allegation that Netflix was warned there was a “potential for suicide-contagion

23 effects upon impressionable viewers” (see, e.g., Compl. ¶ 26) does not establish the requisite “high

24 degree of foreseeability” to give rise to a legal duty. See Sanders, 188 F. Supp. 2d at 1272 (“A

25 speculative possibility . . . is not enough to create a legal duty.”) Suicide is a “too idiosyncratic”

26 reaction to a television series for Netflix—or, for that matter, any other distributor of suicide-

27 related content—to have reasonably anticipated. See James, 300 F.3d at 693. As courts have

28 recognized, committing violence is “simply too far a leap” from watching violence play out on


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 1 screen. See, e.g., id.

 2          Courts have thus consistently held that violence, including self-harm or suicide, is not a

 3 foreseeable consequence of the distribution of artistic works. See, e.g., McCollum, 202 Cal. App.

 4 3d at 1005–06 (holding teen’s suicide “was not a reasonably foreseeable risk or consequence of

 5 defendants’ remote artistic activities”); Watters, 904 F.2d at 379, 381 (rejecting plaintiff’s

 6 argument that the manufacturer of Dungeons & Dragons had “duty to warn that the game could

 7 cause psychological harm in fragile-minded children” because the plaintiff’s son’s suicide was not

 8 foreseeable); Sanders, 188 F. Supp. 2d at 1273 (collecting cases from “[c]ourts around the country

 9 [that] have rejected similar claims brought against media or entertainment defendants”); Way v.

10 Boy Scouts of Am., 856 S.W.2d 230 (Tex. Ct. App. 1993), writ denied (Oct. 6, 1993) (holding it

11 was not reasonably foreseeable that a 12–year-old boy would accidentally discharge a rifle and die

12 after reading shooting supplement in magazine); James v. Meow Media, Inc., 90 F. Supp. 2d 798,

13 806 (W.D. Ky. 2000), aff’d, 300 F.3d 683 (6th Cir. 2002) (granting motion to dismiss negligence

14 claim against creators and distributors of The Basketball Diaries, video game distributors, and

15 internet websites; no duty because it was unforeseeable for a minor to murder his classmates).

16          In so holding, courts have expressly recognized that imposing any such duty would inhibit

17 artistic expression in a manner that is incompatible with the First Amendment. McCollum, 202

18 Cal. App. 3d at 1005–06 (“[I]t is simply not acceptable to a free and democratic society to impose
19 a duty upon performing artists to limit and restrict their creativity in order to avoid the

20 dissemination of ideas in artistic speech which may adversely affect emotionally troubled

21 individuals.”); Widdoss v. Huffman, 62 Pa. D. & C. 4th 251, 256–57 (Com. Pl. 2003) (sustaining

22 demurrer where “the defendants could not properly be found to have violated their duty of

23 reasonable care by exercising protected rights of free speech” in the production, distribution, and

24 exhibition of The Fast and the Furious); Zamora v. CBS, 480 F. Supp. 199, 206 (S.D. Fla. 1979)

25 (declining to impose a duty on television producers because it would discriminate against them

26 “on the basis of content” and would “give birth to a legal morass” that broadcasters would have

27 difficulty navigating); Davidson, 1997 WL 405907, at *12 (concluding the burden to prevent harm

28 resulting from the dissemination of 2Pacalypse Now would be “enormous[]” and “would result in


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 1 the sale of only the most bland, least controversial music”).

 2          Plaintiffs fare no better under the other Rowland factors: drawing a “close connection”

 3 between decedent’s suicide and Netflix’s alleged recommendation and failure to warn is

 4 impossible given the innumerable other factors that might have influenced the decedent’s decision

 5 to take her own life; no moral blame can be attached to Netflix’s conduct, see, e.g., Bill, 137 Cal.

 6 App. 3d at 1011; and, as set forth above, recognizing a duty would impose an intolerable burden

 7 on society and “have the effect of reducing and limiting artistic expression to only the broadest

 8 standard[s] of taste and acceptance and the lowest levels of offense, provocation and controversy,”

 9 McCollum, 202 Cal. App. 3d at 1005–06. “No case has ever gone so far,” and there is “no basis in

10 law or public policy for doing so here.” Id. at 1006.

11          There is likewise no cognizable “special relationship” that could supply a duty here.

12 California courts have recognized a duty to prevent a foreseeable suicide only where a hospital or

13 in-patient facility has “accepted the responsibility to care for and attend to the needs of [a] suicidal

14 patient.” Nally v. Grace Cmty. Church of the Valley, 47 Cal. 3d. 278, 294–96 (1998). Under

15 California law, parties owe no such duty outside of the narrow confines of a party who has a

16 custodial relationship with a patient. See id. (no duty owed by religious counselors). Netflix

17 obviously has no such special relationship with those who use its service for entertainment.

18                          (c) Plaintiffs Cannot Plausibly Allege Netflix Caused Plaintiffs’ Harm

19          Plaintiffs cannot state a negligence claim for the additional reason that they have not

20 sufficiently alleged the necessary element of causation. “[W]here the facts are such that the only

21 reasonable conclusion is an absence of causation, the question is one of law, not of fact.”

22 Modisette v. Apple Inc., 30 Cal. App. 5th 136, 152 (2018). Plaintiffs fail to plead proximate

23 causation as a matter of law.

24          With limited exceptions involving “uncontrollable impulse[s]” and custodial relationships

25 not alleged here, suicide is an intervening, intentional act by the victim that breaks the chain of

26 causation, precluding any tort liability. See Tate v. Canonica, 180 Cal. App. 2d 898, 913–15

27 (1960); Watters, 904 F.2d at 383–84 (“Courts have long been . . . reluctant to recognize suicide as

28 a proximate consequence of a defendant’s wrongful act. . . . Tragedies such as this simply defy


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 1 rational explanation, and courts should not pretend otherwise.”). The lack of proximate causation

 2 provides yet another reason why Plaintiffs’ claims must be dismissed. See, e.g., Jones v. Cate,

 3 2016 WL 282699, at *11 (E.D. Cal. Jan. 26, 2016) (dismissing wrongful death claim on causation

 4 grounds where “[n]one of the allegations in the [complaint] state[d] or support[ed] an inference

 5 [decedent] was acting under an uncontrollable impulse when he committed suicide”); King v.

 6 United States, 756 F. Supp. 1357, 1361 (E.D. Cal. 1990) (holding decedent’s “tragic death had to

 7 have involved an additional intervening, independent force—his own intention to kill himself”).

 8                   3.      The First Amendment Bars All of Plaintiffs’ Claims

 9                         (a) Plaintiffs’ Claims Attack Speech That Is Protected by the First
                               Amendment
10

11          Plaintiffs’ suit runs headfirst into a well-settled “overriding constitutional principle”:

12 “material communicated by the public media, including fictional material such as the television

13 drama here at issue, is generally to be accorded protection under the First Amendment to the

14 Constitution of the United States.” Olivia N., 126 Cal. App. 3d at 492 (citation omitted); see also,

15 e.g., McCollum, 202 Cal. App. 3d at 999 (“First Amendment guaranties of freedom of speech and

16 expression extend to all artistic and literary expression, whether in music, concerts, plays, pictures

17 or books.”). This First Amendment protection “extends to [the] communication, to its source and

18 to its recipients.” Olivia N., 126 Cal. App. 3d at 492.
19          Through its own original television and film content, and by “exercising editorial

20 discretion” over its slate of programming, Netflix “engage[s] in and transmit[s] speech.” See

21 Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 636 (1994) (citation omitted). The First

22 Amendment guarantees that the Government may not interfere with this speech, or compel Netflix

23 to “to alter [its] message by including one more acceptable to others,” see Hurley, 515 U.S. at 581,

24 regardless of whether Netflix’s content choices “in someone’s eyes are misguided, or even

25 hurtful,” id. at 574.

26          Similarly, Netflix’s subscribers have the First Amendment “right to receive information

27 and ideas, regardless of their social worth.” Stanley v. Georgia, 394 U.S. 557, 564 (1969); see

28 also, e.g., Young v. Am. Mini Theatres, 427 U.S. 50, 77 (1976) (Powell, J., concurring) (“[T]he


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 1 central concern of the First Amendment in this area is that there be a free flow from creator to

 2 audience of whatever message a film or book might convey.”). This right to receive information

 3 extends to minors as well. See, e.g., Brown v. Entm’t Merchs. Ass’n, 564 U.S. 786, 795 (2011)

 4 (“Minors are entitled to a significant measure of First Amendment protection . . . Speech that is

 5 neither obscene as to youths nor subject to some other legitimate proscription cannot be

 6 suppressed solely to protect the young from ideas or images.” (citation and alteration omitted));

 7 Erznoznik v. City of Jacksonville, 422 U.S. 205, 214 (1975) (“In most circumstances, the values

 8 protected by the First Amendment are no less applicable when the government seeks to control the

 9 flow of information to minors.”).

10          Given this First Amendment protection, Netflix’s dissemination of 13 Reasons Why is fully

11 immunized from civil liability here. See, e.g., Sullivan, 376 U.S. at 265, 277 (attaching liability to

12 protected speech violates the First Amendment); McCollum, 202 Cal. App. 3d at 1003 (First

13 Amendment “protection is not limited to merely serving as a bar to the prior restraint of

14 [protected] speech, but also prevents the assertion of a claim for civil damages. . . . The deterrent

15 effect of subjecting the [entertainment] industry to such liability because of their programming

16 choices would lead to a self-censorship which would dampen the vigor and limit and variety of

17 artistic expression.”); Olivia N., 126 Cal. App. 3d at 494 (“[T]he chilling effect of permitting

18 negligence actions for a television broadcast is obvious. . . . Realistically, television networks
19 would become significantly more inhibited in the selection of controversial materials if liability

20 were to be imposed on a simple negligence theory.”).

21          Plaintiffs do not avoid the First Amendment’s bar on liability by purporting to narrowly

22 target Netflix’s recommendations and the adequacy of its viewer advisories. Because both

23 theories of liability rest on Plaintiffs’ allegation that the show is “dangerous,” see supra at 7–10,

24 they cannot be disentangled from the expressive content embodied in the show and amount to an

25 attempt to punish Netflix for its speech. The First Amendment does not allow Plaintiffs to use a

26 civil action to achieve that result. See, e.g., Cohen v. Cowles Media Co., 501 U.S. 663, 675–76

27 n.4 (1991) (explaining the Supreme Court has long held that the law may not be used to punish

28 protected expression by imposing civil liability); James, 300 F.3d at 696–97 (rejecting effort to


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 1 impose tort liability for protected speech that plaintiff alleged “was not sufficiently prevented from

 2 reaching minors”).

 3                          (b) The Challenged Speech Does Not Constitute Incitement

 4           While the right to free expression guaranteed by the First Amendment is not absolute, only

 5 narrow categories of unprotected speech can be subject to civil liability, such as libel, obscenity,

 6 fighting words, and incitement. Bose Corp. v. Consumers Union of U.S., Inc., 466 U.S. 485, 504

 7 (1984). Nothing remotely resembling any such speech is at issue in this case, and Plaintiffs do not

 8 allege otherwise. To the extent Plaintiffs seek to overcome the First Amendment’s protections on

 9 an incitement theory, they cannot do so as a matter of well-established law. 8

10           “[T]he incitement exception” is narrow and “must be applied with extreme care” to avoid

11 chilling effects. DeFilippo v. Nat’l Broad. Co., Inc., 446 A.2d 1036, 1042 (R.I. 1982) (holding

12 that First Amendment barred wrongful death suit brought against NBC arising from thirteen-year-

13 old’s fatal imitation of stunt aired on The Tonight Show). As a result, similar suits alleging that

14 fictional works have incited suicide or other violence have been routinely dismissed on the

15 pleadings as barred by the First Amendment. See, e.g., McCollum, 202 Cal. App. 3d at 1008

16 (affirming dismissal where music did not incite teenager’s suicide as a matter of law; concluding

17 “[t]he trial court was thus correct in bringing this action to a prompt end”). 9 The same result

18 should follow here.
19           Speech constitutes unprotected incitement or “fighting words” only if it is (1) “directed to

20 inciting or producing imminent lawless action,” and (2) “likely to incite or produce such

21 [imminent] action.” Brandenburg v. Ohio, 395 U.S. 444, 447 (1969) (emphasis added). The

22
     8
      “The inquiry into the protected status of speech is one of law.” Connick v. Myers, 461 U.S. 138,
23
     148 n.7 (1983).
24   9
       See also, e.g., James, 300 F.3d 683 (affirming dismissal and noting First Amendment problems
     in action alleging violent video games, movies, and websites caused student to shoot his
25
     classmates); Wilson, 198 F. Supp. 2d at 182 (holding First Amendment was a complete bar to tort
26   claims in action against manufacturer of violent video games; granting motion to dismiss);
     Sanders, 188 F. Supp. 2d 1264 (holding violent video games were entitled to full First
27   Amendment protection in action brought by family members of teacher killed in Columbine
     shooting; granting motion to dismiss); Zamora, 480 F. Supp. 199 (holding action against network
28   that aired violent programming was barred by First Amendment; granting motion to dismiss).

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 1 Complaint’s allegations fall far short of meeting this high bar.

 2                             (i)    Plaintiffs Do Not And Cannot Allege The Requisite Specific
                                      Intent To Incite
 3

 4            The threshold “directed to inciting” element of the Brandenburg test imposes a specific-

 5 intent requirement. See Hess v. Indiana, 414 U.S. 105, 108–09 (1973). This means the imminent

 6 violent response to the speech “must have been a specifically intended consequence” of the

 7 speaker. McCollum, 202 Cal. App. 3d at 1000–01. Plaintiffs make no allegations in the

 8 Complaint that Netflix harbored any such specific intent—nor could they do so consistent with

 9 Rule 11. 10

10            If anything, the Complaint alleges the opposite: the creators of 13 Reasons Why depicted

11 the “ugliness and brutality of suicide” with the intent to “deter” teenage suicides. Compl. ¶ 26

12 (emphasis added). Netflix’s advisories at the beginning of the show, and the suicide prevention

13 resources it makes available online at 13ReasonsWhy.info, likewise negate any plausible inference

14 of an intent to incite suicide. See id. ¶ 32. The lack of any hint of a specific intent to incite is

15 enough to push the show well beyond the narrow confines of Brandenburg.

16                             (ii)   Plaintiffs Do Not Plausibly Allege A Reasonable Likelihood Of
                                      Imminent Harm
17

18            The content of the show further confirms that it cannot be construed as unprotected

19 incitement. The Complaint alleges only that 13 Reasons Why depicted suicide—like innumerable

20 other films, television shows, plays, and works of literature that are consumed by teen audiences.

21 At most, Plaintiffs allege that the show “arguably glorifies teenage suicide” (Compl. ¶ 23) and that

22 the creators should have known the show’s depiction of the main character’s suicide in

23 “unflinching detail” (id. ¶ 16) had “the potential for suicide-contagion effects upon impressionable

24 viewers” (id. ¶ 26). This is a far cry from the overt encouragement necessary to satisfy the

25
     10
26   See, e.g., James, 300 F.3d at 698 (affirming district court’s dismissal where producers of video
   games and the film The Basketball Diaries “certainly did not ‘intend’ to produce violent actions
27 by the consumers”); Wilson, 198 F. Supp. 2d at 182 (dismissing claim on First Amendment
   grounds where plaintiff “claim[ed] only that [defendant] intended to addict players [to Mortal
28 Kombat], and knew or should have known that its conduct would bring about harm”).


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 1 Brandenburg test. The incitement requirements are not satisfied as a matter of law where, as here,

 2 the speaker is physically and temporally removed from the viewer and the speech at issue conveys

 3 abstract ideas as opposed to overt encouragement. See, e.g., McCollum, 202 Cal. App. 3d at 1001

 4 (speech cannot be punished as incitement if it merely “has a tendency to lead to suicide or other

 5 violence” (citing Hess, 414 U.S. at 107–09)); Wilson, 198 F. Supp. 2d at 182 (same). 11

 6            McCollum v. CBS, Inc., which involved allegations that a teenager shot himself after

 7 listening to Ozzy Osbourne’s song “Suicide Solution,” is directly on point. The song at issue there

 8 featured lyrics directed to the listener, including the line “get the gun and try it / shoot, shoot,

 9 shoot.” 202 Cal. App. 3d at 996–97. In holding plaintiffs’ claims were absolutely barred by the

10 First Amendment, the court emphasized that “[m]erely because art may evoke a mood of

11 depression as it figuratively depicts the darker side of human nature does not mean it constitutes a

12 direct ‘incitement to imminent violence.’” Id. 1001.

13            So too here. Nowhere does the Complaint allege the show included anything that “could

14 be characterized as a command to an immediate suicidal act.” Id. If a song that tells its listeners

15 to “shoot, shoot, shoot” and “may well express a philosophical view that suicide is an acceptable

16 alternative to a life that has become unendurable” does not constitute an imminent incitement to

17 violence as a matter of law (see id.), then a television show’s depiction of a fictional character’s

18 suicide certainly does not. 13 Reasons Why “cannot be construed to contain the requisite ‘call to
19 action’ for [an] elementary reason”: no rational person could mistake the depiction of suicide in a

20 narrative work of fiction “for literal commands or directives to immediate action.” See id. at 1002.

21 “To do so would indulge a fiction which neither common sense nor the First Amendment will

22 permit.” Id. Given the absence of any incitement to imminent lawless action in the show,

23
     11
24      See also, e.g., James, 300 F.3d at 698 (threat of violent reaction to material in video games and
     film was not “imminent”); Herceg v. Hustler Magazine, Inc., 814 F.2d 1017, 1021–23 (5th Cir.
25   1987) (holding “Orgasm of Death” article in Hustler could not be construed as incitement, even if
     the article describes dangerous practice in “glowing terms,” expressing doubt that written material
26   could ever constitute incitement); Byers v. Edmondson, 826 So.2d 551, 556 (La. Ct. App. 2002)
     (holding the film Natural Born Killers did not satisfy incitement standard because it did “not
27   purport to order or command anyone to perform any concrete action immediately or at any
28   specific time”); Yakubowicz v. Paramount Pictures Corp., 536 N.E.2d 1067, 1071 (Mass. 1981)
     (reaching same conclusion with respect to the film The Warriors).

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 1 Plaintiffs’ claims are absolutely barred by the First Amendment.

 2 II.      Alternatively, the Complaint Should Be Dismissed With Prejudice For Failure to
            State a Claim for Relief under Rule 12(b)(6)
 3

 4          For the same reasons that Plaintiffs fail to establish a probability of succeeding on the
 5 merits as required under the anti-SLAPP statute, they also fail to plausibly state a claim for relief

 6 under Rule 12(b)(6). To the extent the Court holds that this case is not appropriate for dismissal

 7 under the anti-SLAPP statute, it should dismiss the Complaint under Rule 12(b)(6).

 8          The Complaint’s defects are irremediable. Plaintiffs have no basis for tolling their time-
 9 barred claims. And decedent’s brothers cannot plead any facts that would change the statutorily

10 established priority for wrongful death claims. Nor can they allege a cognizable duty, plead

11 proximate causation, or evade the First Amendment’s bar on liability. Because amendment would

12 be futile, the claims should be dismissed without leave to amend. See Dougherty v. City of

13 Covina, 654 F.3d 892, 901 (9th Cir. 2011); Leadsinger, Inc. v. BMG Music Publ’g, 512 F.3d 522,

14 532 (9th Cir. 2008).

15                                            CONCLUSION
16          For the foregoing reasons, Plaintiffs’ Complaint should be stricken pursuant to the anti-
17 SLAPP statute or, alternatively, dismissed with prejudice.

18
19 DATED: September 1, 2021                      MUNGER, TOLLES & OLSON LLP
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                                                 By:         /s/ Blanca F. Young
22                                                    BLANCA F. YOUNG
                                                 Attorneys for NETFLIX, INC.
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